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DONALD J. TRUMP

President of the United States of America

TO ALL TO WHOM THESE PRESENTS SHALL COME, GREETING:

BE IT KNOWN, THAT THIS DAY THE PRESIDENT HAS GRANTED UNTO

ROBERT ZANGRILLO

A FULL AND UNCONDITIONAL PARDON

FOR OFFENSES CHARGED in the United States District Court for the District of
Massachusetts in a fourth superseding indictment (Docket No. 19-10080-NMG) charging

violations of Sections 2, 371, 981(a)(1)(C), 982(a)(1), 1343, 1346, 1349, and 1956(h), Title 18,
and Section 2461(c), Title 28, United States Code.

THE PRESIDENT HAS DESIGNATED, directed and empowered the Acting Pardon
Attorney, as his representative to execute this grant of executive clemency.

In accordance with these instructions and authority, 1
have caused the seal of the Department of Justice to
be affixed hereto and affirm that this action is the act
of the President being performed at his direction.

Done at the City of Washington, District of
Columbia, on January 29, 2021,

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BY DIRECTION OF THE PRESIDENT

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Acting Pardon Attorney

